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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION




UNITED STATES OF AMERICA

v.                                            CASE NO. 5:17cr32-RH

AMANDA GIOVANNI,

                   Defendant.

________________________________/


                           ORDER DENYING THE MOTION TO
                       SUPPRESS PAPERS SEIZED AT THE BORDER


         The defendant Amanda Giovanni, a United States citizen, returned to the

United States from abroad on a commercial flight. Border agents seized and copied

papers unrelated to her authority to enter the country. She has moved to suppress,

asserting agents lacked probable cause or reasonable suspicion to seize, copy, and

later examine the papers. She acknowledges that agents may conduct routine

searches at the border without probable cause or reasonable suspicion and that this

rule applies to individuals arriving from overseas at an international airport. But

she says this search was not routine. She relies partly on Riley v. California, 134 S.




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Ct. 2473 (2014), in which the Court held that the authority to search incident to

arrest does not extend to the contents of a cellular telephone.

         This case involves a border search, not a search incident to arrest. And this

case involves hard copies of documents, not the contents of an electronic device.

More importantly, the Eleventh Circuit has squarely held that Riley does not apply

to border searches and that notwithstanding Riley, agents may search the contents

of an electronic device at the border without probable cause or reasonable

suspicion. That the search takes place at the border is sufficient, without more, to

justify the search. See United States v. Touset, No. 17-11561, __ F.3d __, 2018 WL

2325350 (11th Cir. May 23, 2018).

         To be sure, this part of Touset is an alternative holding; the court also said

agents had reasonable suspicion to conduct the search at issue there. But alternative

holdings are the law of the circuit; they are binding on later panels and, even more

clearly, on district courts within the circuit. See, e.g., Bravo v. United States, 532

F.3d 1154, 1162 (11th Cir. 2008) (“[I]n this circuit additional or alternative

holdings are not dicta, but instead are as binding as solitary holdings.”) (collecting

authorities). Touset is fatal to Ms. Giovanni’s motion.

         For these reasons,

         IT IS ORDERED:




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         The motion to suppress evidence of papers seized at the border, ECF No. 75,

is denied.

         SO ORDERED on May 29, 2018.

                                        s/Robert L. Hinkle
                                        United States District Judge




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